

People v White (2022 NY Slip Op 03183)





People v White


2022 NY Slip Op 03183


Decided on May 12, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 12, 2022

Before: Gische, J.P., Scarpulla, Mendez, Shulman, Higgitt, JJ. 


Ind. No. 3196/09 Appeal No. 15926 Case No. 2020-04442 

[*1]The People of the State of New York, Respondent,
vShawn White, Defendant-Appellant. 


Calev Law Practice, Kew Gardens (Benjamin I. Calev of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Matthew B. White of counsel), for respondent.



Judgment of resentence, Supreme Court, Bronx County (Steven Lloyd Barrett, J.), rendered March 15, 2019, resentencing defendant to a term of 23 years on his conviction of manslaughter in the first degree, unanimously affirmed.
The resentencing court providently exercised its discretion in denying youthful offender treatment (see People v. Drayton , 39 NY2d 580 [1976]), given the seriousness of the crime and the very limited scope of sentencing available under such an adjudication.
We perceive no basis for reducing the sentence. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 12, 2022








